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From: Michael Winkleman <MWinkleman@lipcon.com>
Sent: / - Tuesday, June 19, 2018 3:06 PM

To: Strasius, Anthony; Michael Winkleman

Ce: Jones, Steven, Nowakowska, Anna

Subject: RE: Carpio v. D-1 Davit International
Importance: High

Tony,

The extension is confirmed.

please send me whatever you can so that | can further look into the issue about
the proper defendant.

Thanks,
MW

Michael A. Winkleman, Attorney at Law

LipcoN, MARGULIES,
ALSINA &€ WINKLEMAN, PA.

One Biscayne Tower

2, South Biscayne Boulevard, Suite 1776
. Miami, Florida 33131

Tel: (305) 373-3016 - ext. 224

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Web: www.Lipcon.com

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Thank vou.

From: Strasius, Anthony <Anthony.Strasius@wilsonelser.com>

Sent: Monday, June 18, 2018 4:11 PM

To: Michael Winkleman <MWinkleman @lipcon.com>

Cc: Jones, Steven <Steven.Jones@wilsonelser.com>; Nowakowska, Anna <Anna.Nowakowska @wilsonelser.com>
Subject: Carpio v. D-1 Davit International

Mike, this is to follow our conversation of a few minutes ago. | advised that D-1 Davit international is not the correct
defendant in this case, in that it did not deliver or install or manufacture the davit(s) in question for this vessel. We are
willing to provide you with the name of the correct manufacturer located in Germany if you will voluntarily dismiss D-1
Davit International. | understand that you need some time to consider this further, and | look forward to talking with
you more when you have the chance.

In the meantime, you have kindly agreed to an extension of time of 30 days from June 28" for D-1 Davit International to
respond to both complaints — this would make responses due on July 23", which in reviewing the calendar is a
Saturday. {f ok with you, | will calendar the due date on that Monday, which is July 30". | hope that’s ok.

Thanks for your professional courtesy, and | look forward to working with you...
Tony

Anthony Strasius

Attorney at Law

Wilson Elser Moskowitz Edelman & Dicker LLP
100 Southeast Second Street - Suite 3800
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anthony. strasius@wilsonelser.com

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Thank you.

